EXHIBIT 3
                   IN THE UNITED STATES DISTRICT COURT
      FOR THE EASTERN DISTRICT OF NORTH CAROLINA WESTERN DIVISION
                              No. 5:22-CV-15-FL

 ROBERT TERRACINO and
 BRADIE TERRACINO,

         Plaintiffs,

 v.

 TRIMACO, INC.,

         Defendant.


  PLAINTIFF’S RESPONSES TO DEFENDANT’S FIRST REQUESTS FOR PRODUCTION
                   RELEVANT TO CLAIM CONSTRUCTION

       These responses are provided in accordance only and limited to the Federal Rules of Civil

Procedure and the Local Rules of the Federal Court for the Eastern District of North Carolina.

                                  REQUESTS FOR PRODUCTION

       Request No. 1. Produce all Documents and Things concerning the ’917 Patent, including

all Documents related to the claim interpretation of, or the assessment of the scope, infringement,

validity, or enforceability of the Asserted Claims of the ’917 Patent.

       ANSWER:         Documents responsive to this are contained in the file wrappers for U.S. Patent

Application No. 12/460,763 and U.S. Patent No. ‘917 which are already in your possession. In

addition, already in your possession is the opinion of Mr. Daniel Tanner, Esq. (Dkt. 1-8). There are no

privileged documents responsive to this other than those contained within the file wrappers for the ‘763

application and the ‘917 patent. A privilege log will be provided in support of this response.




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       Request No. 2.          Produce all Documents constituting or concerning any opinion or

draft opinions, assessments, or evaluations made by You or on Your behalf, whether written or oral,

relating to the scope, claim interpretation, infringement, validity, or enforceability of the Asserted

Claims of the ’917 Patent, and including but not limited to any such documents related to Docket Entry

1-8, dated January 7, 2022.

       ANSWER:

       All documents that are potentially responsive were created in consultation with litigation counsel

and are therefore privileged. Any other documents responsive to this request precede the engagement of

expert patent counsel and are the advisory opinion of such expert patent counsel. A privilege log will be

provided in support of this response.

       Request No. 3.          Produce all Documents relating to any patent search conducted by

You or on Your behalf relating to the patentability of the ’917 Patent.

       ANSWER:

       None.

       Request No. 4.          Produce all Documents and Things concerning any research,

testing, analysis, or evaluation performed in connection with any Accused Product by You or on Your

behalf, including but not limited to, any measurements, test results, correspondence, or research reports,

including any documents that support an allegation of infringement by the Accused Products.

       ANSWER:

       Documents responsive to this Request are being provided as Bates Nos. Plfs. 0001-0011.

       Request No. 5. Produce all Documents sufficient to show Your past and current

policies regarding document retention and/or destruction.

       ANSWER:

       None.


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Dated: November 27, 2023        /s/ Duncan G. Byers
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                                Specially Admitted Counsel for Plaintiff


                             CERTIFICATE OF SERVICE

     I hereby certify that on November 27, 2023, I served the foregoing via electronic mail on:

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